                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JAMES MARABLE and KIM MARABLE,         *
                                       *
         Plaintiffs,                   *
                                       *     Case No. 3:12-cv-818
v.                                     *
                                       *     JURY DEMAND
Q CARRIERS, INC. and                   *
MANSON T. WILLIAMS                     *     Judge Sharp
                                       *     Magistrate Judge Knowles
         Defendants.                   *
                                       *
and                                    *
                                       *
STATE FARM MUTUAL AUTOMOBILE           *
INSURANCE COMPANY a/s/o JAMES W. *
AND KIM MARABLE,                       *
                                       *
         Plaintiff,                    *
                                       *
v.                                     *
                                       *
MANSON T. WILLIAMS and SUMMIT          *
EQUIPMENT LEASING, LLC,                *
                                       *
         Defendants.                   *
_________________________________________________________________________

          NOTICE TO TAKE VIDEOTAPE DEPOSITION DUCES TECUM OF
   DEFENDANT Q CARRIERS, INC. AND/OR SUMMIT EQUIPMENT LEASING, LLC’S
    RULE 30(b)(6) DESGINEE(S) REGARDING DRIVER TRAINING, OPERATIONAL
                  SAFETY, AND INVESTIGATION OF ACCIDENTS
__________________________________________________________________________

TO:     Clarence Risin, Esq.
        V. Austin Shaver, Esq.
        Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
        211 Commerce Street, Suite 800
        Nashville, TN 37201

        Samuel A. Baron, Esquire
        Law Office of Samuel A. Baron
        1109 17th Avenue, S
        Nashville, TN 37212
                                                                                1

      Case 3:12-cv-00818 Document 25 Filed 06/27/13 Page 1 of 3 PageID #: 145
       Please take notice that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

Plaintiffs’ counsel will take the video deposition of Defendant Q Carriers, Inc. and/or Summit

Equipment Leasing, LLC’s Rule 30(b)(6) Designee(s) who is(are) to testify on behalf of said

Defendants regarding the following matters:

       (1)     Driver training;

       (2)     Operational safety; and

       (3)     Investigation of accidents.

       Said deposition(s) shall be taken before a qualified court reporter at the offices of Scott

County Justice Center, Room GC-102, 200 4th Avenue W., Shakopee, Minnesota 55379 on

Wednesday, August 14, 2013 at 9:00 a.m. CDT.

       The Deponent(s) is(are) to bring with them to their deposition the documents and things

identified in Exhibit A which is attached hereto.

       This deposition will be conducted upon oral examination before a court reporter and will

be videotaped. This oral examination will continue from day to day until completed.

       You are invited to attend and examine.


                                              Respectfully submitted,
                                              LAW OFFICES OF MORGAN G. ADAMS

                                              BY: /S/MORGAN G. ADAMS
                                                     MORGAN G. ADAMS, BPR #013693
                                                     ATTORNEYS FOR PLAINTIFFS
                                                    1419 Market Street
                                                    Chattanooga, TN 37402
                                                    Telephone:    423-265-2020
                                                    Fax:          423-265-2025




                                                                                                2

    Case 3:12-cv-00818 Document 25 Filed 06/27/13 Page 2 of 3 PageID #: 146
                                         CERTIFICATE OF SERVICE

       I certify that a true and exact copy of the foregoing has been served upon the following
persons via the electronic filing system or U.S. Mail, postage prepaid, on this 27th day of June,
2013:

         Clarence Risin, Esq.
         V. Austin Shaver, Esq.
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
         P.O. Box 190613
         Nashville, TN 37219

         Samuel A. Baron, Esquire
         Law Office of Samuel A. Baron
         1109 17th Avenue, S
         Nashville, TN 37212

         Chaser Court Reporting
         5841 190th Street East
         Minneapolis, MN 55372

                                                                 /S/MORGAN G. ADAMS




JWC.c.Notice to Take Videotaped deposition of Designee.Marable.6.20.13.Rev.6.26.13.6.27.13




                                                                                               3

     Case 3:12-cv-00818 Document 25 Filed 06/27/13 Page 3 of 3 PageID #: 147
